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ale Approved: April 15, 2024 Extension: =
By: Austin D. Young FILED
Oper> CLERK, U.S. DISTRICT COURT
PSA Officer (for material witness only) AUSA
i . Digitally signed by AUSTIN
Signature: At JSTIN YOUNG wuse 04/15/2024
Date: 2024.04.15 14:13:32 -07'00'
CENTRAL DISTRICT OF CALIFORNIA | ue
AP DEPUTY

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UNITED STATES DISTRICT COURT ”

= CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA CASE NUMBER
PLAINTIFF,
v. 5:24-MJ-168
RANAE NORMA WOODARD AFFIDAVIT OF SURETY (NO JUSTIFICATION)
DEFENDANT(S).

I, the undersigned surety, state on oath that I permanently reside within the jurisdiction of the United States District Court
for the Central District of California at the address indicated below or in (City, State):

I further state thatI understand the provisions of the bond executed by the above-named defendant for which this affidavit
supports, and I agree to be bound as acondition of this bond by the provisions of Local Cnminal Rule 46-6 as set forth at the
bottom of this document and further acknowledge and agree that I and my personal representatives are bound as a condition
of this bond, jointly and severally with the defendant and other sureties, to pay to the United States of America the sum of

$ 5 CY) , in the event that the bond is forfeited.

I further understand that it is my obligation to inform the Court and counsel of any change in residence address or
employment of the defendant immediately upon becoming aware of such fact.

I further agree and understand that, unless otherwise ordered by the Court, the bond for which this affidavit supports is
a continuing bond (including any proceeding on appeal or review) which shall continue in full force and effect until such time

as the undersigned is duly exonerated by Order of the Court.
edits
aS day of

I declare under the penalty of perjury that the foregoing is true and correct. Executed on this

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lrtha tn Dard xxx-xx- TZ/DQoO

Name of Surety

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(Last 4 digits onlv)

Signature of Surety Address of Surety
t
n othse 5 Palm Spr ing CA
Relationship of Surety City, State, Zip'Code
Local Criminal Rule 46-6

Bond - Summary Adjudication of Obligation
bond or undertaking presented for filing shall contain consent of the principal and surety that, in case of default or contumacy on the part of the
incipal or surety, the Court, upon ten (10) days notice, may render a judgment summarily in accordance with the obligation undertaken and issue a
wil of execution upon such judgment. An indemnitee or party in interest seeking a judgment on a bond or undertaking shall proceed by Motion for

summary Adjudication of Obligation and Execution. Service may be made on a corporate surety as provided in 31 U.S.C. § 9306.

44 ( 02/09) AFFIDAVIT OF SURETY (NO JUSTIFICATION)
